Case 14-13922        Doc 40     Filed 07/16/18     Entered 07/16/18 16:34:16          Desc         Page 1
                                                  of 3




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14 B 13922
         Demario J O'Banner

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 04/15/2014.

         2) The plan was confirmed on 07/17/2014.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 03/25/2015.

         5) The case was Completed on 01/16/2018.

         6) Number of months from filing to last payment: 45.

         7) Number of months case was pending: 51.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $16,699.98.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 14-13922             Doc 40         Filed 07/16/18    Entered 07/16/18 16:34:16                Desc         Page 2
                                                          of 3



 Receipts:

           Total paid by or on behalf of the debtor                    $6,600.00
           Less amount refunded to debtor                                $237.21

 NET RECEIPTS:                                                                                            $6,362.79


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                        $4,343.00
     Court Costs                                                                      $0.00
     Trustee Expenses & Compensation                                                $244.78
     Other                                                                            $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                        $4,587.78

 Attorney fees paid and disclosed by debtor:                            $0.00


 Scheduled Creditors:
 Creditor                                              Claim         Claim            Claim       Principal      Int.
 Name                                        Class   Scheduled      Asserted         Allowed        Paid         Paid
 Arnoldharris                            Unsecured         848.00           NA              NA            0.00       0.00
 Capital One Bank USA NA                 Unsecured           1.00           NA              NA            0.00       0.00
 Chase Bank                              Unsecured      3,500.00            NA              NA            0.00       0.00
 City of Chicago Department of Revenue   Unsecured      7,000.00       3,670.80        3,670.80        367.08        0.00
 Commonwealth Edison Company             Unsecured         680.00        679.90          679.90          67.99       0.00
 Credit Management Lp                    Unsecured         426.00           NA              NA            0.00       0.00
 Debt Recovery Solutions                 Unsecured         238.00           NA              NA            0.00       0.00
 Dependon Collection Service             Unsecured         437.00           NA              NA            0.00       0.00
 Fbcs                                    Unsecured         278.00           NA              NA            0.00       0.00
 Harvard Collection                      Unsecured         432.00           NA              NA            0.00       0.00
 Hsbc/Tax                                Unsecured         585.00           NA              NA            0.00       0.00
 Indiana Department of Revenue           Unsecured           1.00           NA              NA            0.00       0.00
 Internal Revenue Service                Priority       1,700.00         830.53          830.53        830.53        0.00
 Internal Revenue Service                Unsecured           0.00        162.55          162.55          16.26       0.00
 Mdwstwauke                              Unsecured           0.00           NA              NA            0.00       0.00
 Metrosouth Medical Center               Unsecured      4,824.00       4,823.50        4,823.50        482.35        0.00
 Municipal Collections Of America        Unsecured         872.00        108.00          108.00          10.80       0.00
 Robert & Cornelia McMillian             Unsecured      1,600.00            NA              NA            0.00       0.00
 Us Dept Ed                              Unsecured         375.00           NA              NA            0.00       0.00




UST Form 101-13-FR-S (9/1/2009)
Case 14-13922        Doc 40      Filed 07/16/18     Entered 07/16/18 16:34:16             Desc     Page 3
                                                   of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00             $0.00
       Mortgage Arrearage                                      $0.00              $0.00             $0.00
       Debt Secured by Vehicle                                 $0.00              $0.00             $0.00
       All Other Secured                                       $0.00              $0.00             $0.00
 TOTAL SECURED:                                                $0.00              $0.00             $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00              $0.00              $0.00
        Domestic Support Ongoing                              $0.00              $0.00              $0.00
        All Other Priority                                  $830.53            $830.53              $0.00
 TOTAL PRIORITY:                                            $830.53            $830.53              $0.00

 GENERAL UNSECURED PAYMENTS:                              $9,444.75            $944.48              $0.00


 Disbursements:

         Expenses of Administration                             $4,587.78
         Disbursements to Creditors                             $1,775.01

 TOTAL DISBURSEMENTS :                                                                       $6,362.79


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 07/16/2018                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
